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                  EXHIBIT 10
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 1          UNITED STATES DISTRICT COURT

 2          WESTERN DISTRICT OF NEW YORK

 3          ---------------------------------------------

 4          BLACK LOVE RESISTS IN THE RUST, ET AL.,
            INDIVIDUALLY AND ON BEHALF OF A CLASS OF
 5          ALL OTHERS SIMILARLY SITUATED,

 6
                         Plaintiffs,
 7
              -vs-                                     1:18-cv-00719-CCR
 8
            CITY OF BUFFALO, N.Y., ET AL.,
 9
                          Defendants.
10            - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - - - - - - -

11

12                         EXAMINATION BEFORE TRIAL

13                           OF MAYOR BYRON BROWN

14                         APPEARING REMOTELY FROM

15                           ERIE COUNTY, NEW YORK

16

17                             November 6th, 2023

18                             At 9:00 a.m.

19                             Pursuant to notice

20

21

22          REPORTED BY:

23          Rebecca L. DiBello, RPR, CSR(NY)




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                                                                       2




 1          R E M O T E          A P P E A R A N C E S

 2
            A P P E A R I N G F O R T H E P LA I N T I F F S , B L A C K L O V E
 3          RESISTS IN THE RUST, ET AL., INDIVIDUALLY AND
            ON BEHALF OF A CLASS OF ALL OTHERS SIMILARLY
 4          SITUATED:

 5                               CENTER FOR CONSTITUTIONAL RIGHTS
                                 B Y : A. C H I N Y E R E E Z I E , E S Q .
 6                               666 Broadway, 7th Floor
                                 New York, New York 10012
 7                               (212) 614-6464

 8          APPEARING FOR THE DEFENDANTS, CITY OF BUFFALO,
            N.Y., et al.:
 9
                                 HODGSON RUSS LLP
10                               BY: PETER SAHASRABUDE, ESQ.,
                                 140 Pearl Street
11                               Buffalo, New York 14202
                                 (716) 848-1508
12

13

14          ALSO PRESENT:

15                               National Center for Law
                                 and Economic Justice
16                                  CLAUDIA WILNER, ESQ.
                                    MAYA GOLDMAN, ESQ.
17                                  ANJANA MOLHOTRA, ESQ.
                                    SHYENNE MEDINA, ESQ.
18
                                 Covington & Burling, LLP
19                                  CHRISTINE NELSON, ESQ.

20                               Center for Constitional
                                 Rights
21                                   MIKAILA HERNANDEZ, ESQ.

22
23




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                                    MAYOR BYRON BROWN


 1      Q. O k a y .     Mayor Brown, are you familiar with a

 2           BPD unit that was called the Strike Force?

 3      A. Y e s , I a m .

 4      Q. W a s t h a t a m a j o r p ol i c y d e c i s i o n o f t h e B P D ,

 5           the creation of the Strike Force?

 6      A. Y e s , i t w a s .       I think clearly the police

 7           department was trying to respond to vehicle

 8           and traffic complaints of residents and that

 9           was the impetus for the establishment of that

10           unit.

11      Q. Y o u r t e s t i m o n y t o d a y i s t h a t t h e i m p e t u s f o r

12           the establishment of the Strike Force was

13           traffic safety concerns?

14                     MR. SAHASRABUDHE:                 Form.

15      Q. P l e a s e r e s p o n d v e r b a l l y .

16                     MR. SAHASRABUDHE:                 He's thinking about

17          his response.

18      A. Y e s .     There have been major traffic safety

19           concerns in the City of Buffalo.                        Residents

20           very concerned about people going through stop

21           signs, going through traffic signals, speeding

22           in their neighborhoods, endangering children

23           a n d s e n i o r s a n d c o nc e r n s a b o u t t h e p l a y i n g o f




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                                     MAYOR BYRON BROWN


 1           l o u d m u s i c b y v e h i cl e s i n n e i g h b o r h o o d s .

 2      Q. T h e S t r i k e F o r c e w a s c r e a t e d d u r i n g y o u r t i m e

 3           as mayor, correct?

 4      A. Y e s .

 5      Q. H o w w o u l d y o u d e s c ri b e y o u r i n v o l v e m e n t , i f

 6           any, in its creation?

 7      A. I w a s n ' t i n v o l v e d i n t h e c r e a t i o n .        It was a

 8           recommendation of the police department to

 9           a d d r e s s t h e s e c o n c er n s , p r i m a r i l y t r a f f i c

10           related, and the Strike Force was established

11           to address the concerns that residents had.

12      Q. A n d i s y o u r t e s t i m o n y t o d a y t h a t t h e p r i m a r y

13           mission of the Strike Force was attending to

14           traffic concerns?

15                     MR. SAHASRABUDHE:                 Objection to form.

16      A. T h e m i s s i o n o f t h e S t r i k e F o r c e i n i t s

17           creation was to deal with vehicle and traffic

18           concerns related to speeding, dangerous

19           driving, going through stop signs, traffic

20           signals, speeding through neighborhoods,

21           speeding past schools, yes.

22      Q. O k a y .     And I remind you, Mayor, that you're

23           under oath today.




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